         Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                            Entered 02/18/21 11:54:10          Page 1 of 61




 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30085
                                                                                                                                
                                                                                                                                X Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule       Schedules A/B and H
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 18, 2021                       X /s/ David Warren
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Warren
                                                                       Printed name

                                                                       Chief Financial Officer - For Profit Entities
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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          Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                   Entered 02/18/21 11:54:10                Page 2 of 61

 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30085
                                                                                                                             X Check if this is an
                                                                                                                             
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                             $936.95



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                                                                            Sub Demand Deposit
            3.1.   Atlantic Union Bank                                      Account                      4944                                           $0.00



                                                                            Sub Demand Deposit
            3.2.   Atlantic Union Bank                                      Account                      5347                                           $0.00



                                                                            Sub Demand Deposit
            3.3.   Atlantic Union Bank                                      Account                      4340                                           $0.00



                                                                            Sub Demand Deposit
            3.4.   Atlantic Union Bank                                      Account                      7142                                 $156,281.60




            3.5.   Atlantic Union Bank                                      Deposit Account              9940                                           $0.00



                                                                            Demand Deposit
            3.6.   Wells Fargo Bank                                         Account                      0899                               $1,058,539.17



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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         Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                    Entered 02/18/21 11:54:10           Page 3 of 61

 Debtor           National Rifle Association of America                                      Case number (If known) 21-30085
                  Name




           3.7.     Commerce Bank                                           Checking Account             8907                       $15,579.52




           3.8.     Huntingon National Bank                                 Checking Account             973                                $4.25




           3.9.     InBank                                                  Checking Account             4297                       $10,197.73



           3.10
           .    PNC Bank                                                    Checking Account             9511                       $17,906.26



           3.11
           .    Chain Bridge Bank N.A.                                      Checking Account             5001                   $10,000,882.23



           3.12
           .    Wells Fargo Bank                                            Checking Account             0666                   $11,081,168.69



           3.13
           .    Atlantic Union Bank                                         Checking Account             5244                         $6,781.39



           3.14
           .    Access National                                             Checking Account             6406                   $10,262,379.86



           3.15
           .    Wells Fargo Bank                                            Checking Account             0267                         $7,755.03



           3.16
           .    Atlantic Union Bank                                         Lockbox Account              5643                           $100.00



           3.17
           .    Atlantic Union Bank                                         Checking Account             5740                         $4,417.42



           3.18
           .    Atlantic Union Bank                                         Checking Account             6046                       $56,446.13



           3.19
           .    Atlantic Union Bank                                         Checking Account             6143                       $14,044.34



           3.20                                                             Demand Deposit
           .    Atlantic Union Bank                                         Account                      6398                       $22,036.71


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 2
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           Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                  Entered 02/18/21 11:54:10           Page 4 of 61

 Debtor            National Rifle Association of America                                     Case number (If known) 21-30085
                   Name


            3.21
            .    Wells Fargo Bank                                           Checking Account                 0695                  $3,854,907.78



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                   $36,570,365.06
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Deposit - Brewer Trust Deposit                                                                                $2,551,009.57




            7.2.     Deposit - Postage                                                                                              $204,000.00




            7.3.     Deposit - CRA International (Legal)                                                                            $100,000.00




            7.4.     Deposit - CIGNA                                                                                                  $70,000.00




            7.5.     Booth Deposit - National Shooting Sports                                                                         $36,337.50




            7.6.     Shot Show Deposit - Resturant Row Corner LLC                                                                     $18,268.05




            7.7.     Rent Deposit - NADA Services Corp.                                                                               $10,412.00




            7.8.     Deposit - Clark Distribution Systems, Inc.                                                                       $10,000.00




            7.9.     Deposit - United Parcel                                                                                            $6,100.00



            7.10
            .    2024 Annual Meeting Deposit - City of Dallas                                                                           $5,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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         Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                    Entered 02/18/21 11:54:10           Page 5 of 61

 Debtor           National Rifle Association of America                                      Case number (If known) 21-30085
                  Name




           7.11
           .    Rent Deposit - Downtown Plaza Towers                                                                                   $1,331.40



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid - Insurance - Lockton                                                                                $1,050,348.63




           8.2.     Prepaid - G&E Real Estate (Newmark Knight Frank)                                                               $198,670.11




           8.3.     Prepaid - Connecticut Shotgun MFG.                                                                               $96,000.00




           8.4.     Prepaid - Rcls Flights - Credit at Direct Travel                                                                 $67,755.22




           8.5.     Prepaid - Boss Outdoor Productions                                                                               $42,500.00




           8.6.     Prepaid- Corporate America Aviation                                                                              $20,155.00




           8.7.     Prepaid - Safari Club International                                                                              $12,500.00




           8.8.     Prepaid - SK Global Software                                                                                         $714.00




           8.9.     Prepaid - PAC F/R Postage #96597 - Merkle                                                                        $21,611.38



           8.10
           .    Prepaid - ILA WV PO Box #5200 - Merkle                                                                               $65,970.63



           8.11
           .    Prepaid - Postage Escrow - Prolist                                                                                 $185,466.73




 9.        Total of Part 2.                                                                                                    $4,774,150.22
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 4
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           Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                     Entered 02/18/21 11:54:10             Page 6 of 61

 Debtor         National Rifle Association of America                                          Case number (If known) 21-30085
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                       64,072,298.70    -                      8,645,674.18 = ....               $55,426,624.52
                                              face amount                        doubtful or uncollectible accounts



            11a. 90 days old or less:                        1,207,637.91    -                        573,458.34 = ....                   $634,179.57
                                              face amount                        doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                       $56,060,804.09
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:


            14.1.    Morgan Stanley Portfolio                                                           Market                        $48,141,826.66




            14.2.    Endowment (Morgan Stanley)                                                         Market                          $4,553,432.87




            14.3.    SERP                                                                               Market                          $2,930,784.94




            14.4.    Morgan Stanley Portfolio                                                           Market                          $8,369,093.00



 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    NRA Holdings, Inc.                                             100         %       Book                                       $0.00




            15.2.    Wingate Church Insurance Services, Inc.                        100         %       Book                                       $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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           Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                          Entered 02/18/21 11:54:10          Page 7 of 61

 Debtor         National Rifle Association of America                                              Case number (If known) 21-30085
                Name




            15.3.    Lexington & Concord Holdings, LLC                                   100         %    Book                                         $0.00




            15.4.    Sea Girt LLC                                                        100         %    Bank                                 $50,000.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                           $64,045,137.47
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
            General description                       Date of the last           Net book value of        Valuation method used      Current value of
                                                      physical inventory         debtor's interest        for current value          debtor's interest
                                                                                 (Where available)

 19.        Raw materials
            Paper Inventory                           Monthly/Quarterly                  $1,433,889.67    Acquired Value                    $1,433,889.67



 20.        Work in progress

 21.        Finished goods, including goods held for resale
            Inventory - Valtim,
            Fraternal Sales Items,
            Program Sales Materials                   Monthly/Quarterly                 $10,204,312.10    Acquired Value                  $10,204,312.10



 22.        Other inventory or supplies
            Museum Store,
            Headquarters Supplies,
            Other                                     Monthly/Quarterly                   $976,164.29     Acquired Value                      $976,164.29




 23.        Total of Part 5.                                                                                                           $12,614,366.06
            Add lines 19 through 22. Copy the total to line 84.

 24.        Is any of the property listed in Part 5 perishable?
             No
             Yes
 25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                                        Valuation method                         Current Value

 26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 6
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           Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                  Entered 02/18/21 11:54:10              Page 8 of 61

 Debtor         National Rifle Association of America                                         Case number (If known) 21-30085
                Name

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 39.        Office furniture
            SEE ATTACHED - (1) Summary Schedule of
            Fixed Assets, (2) Depreciation Expense
            Report, (3) Fixed Asset Summary Report                                   $284,541.00      Book Value                         $284,541.00



 40.        Office fixtures
            N/A                                                                             $0.00                                                 $0.00



 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            SEE ATTACHED - (1) Summary Schedule of
            Fixed Assets, (2) Depreciation Expense
            Report, (3) Fixed Asset Summary Report                                   $671,140.00      Book Value                         $671,140.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles
            42.1. SEE ATTACHED - (4) Collectibles
                     Schedule                                                        $162,000.00      Book Value                         $162,000.00




 43.        Total of Part 7.                                                                                                          $1,117,681.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used     Current value of
            Include year, make, model, and identification numbers             debtor's interest       for current value         debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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           Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                  Entered 02/18/21 11:54:10             Page 9 of 61

 Debtor         National Rifle Association of America                                         Case number (If known) 21-30085
                Name



 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    SEE ATTACHED - (1) Summary
                     Schedule of Fixed Assets, (2) Fixed
                     Asset Summary Report, (5) Vehicle List
                     with Make -Model-VIN Details                                    $499,690.00     Book Value                           $499,690.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                          $499,690.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of      Valuation method used      Current value of
            property                                      extent of           debtor's interest      for current value          debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 11250 Waples Mill                       Headquarter
                     Road, Fairfax, VA                    Building and
                     22030                                Property                $25,055,054.00     Market Value                     $61,300,000.00


            55.2.                                         Adjacent
                     11244 Waples Mill                    Building &
                     Road, Fairfax, VA                    Property to
                     22030                                Headquarters               $502,754.00     Market Value                       $2,525,000.00


            55.3.    412 First Street, S.E.
                     Washington, DC
                     20003                                Lease                        Unknown                                                      $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 8
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        Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                    Entered 02/18/21 11:54:10                Page 10 of 61

 Debtor         National Rifle Association of America                                         Case number (If known) 21-30085
                Name


 56.        Total of Part 9.                                                                                                        $63,825,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Copyrights - NRA creates and/or publishes
            content on a daily basis, and has been doing
            so for many years. The content takes a variety
            of forms including audio, video, and written
            text, both online and through hard copies.
            This conent is disseminated through multiple
            channels including print publications, digital
            publications, television show, websites, phone
            applications, social media accounts and other
            channels. The amount of content NRA has
            published through various forms of media
            continues to grow on a daily basis.                                         $4,365.00      Book                                  $4,365.00


            Trademarks - The NRA has approximately 94
            trademarks registered with the United States
            Patent and Trademark Office. There may be
            other trademarks used by NRA personnel to
            identify NRA goods or services that have not
            arisen to the point of being registered but are
            protected under common law trademark
            jurisprudence.                                                                  $0.00      Book                                        $0.00



 61.        Internet domain names and websites
            Internet Domains/Websites - The NRA has
            approximately 52 internet domain names that
            are used to publish its content or redirect
            users to its active websites, and for other
            activities.                                                                     $0.00      Book                                        $0.00



 62.        Licenses, franchises, and royalties
            Royalties/Licenses - The NRA has many
            license agreements with third party companies
            to brand merchanise in an affinity operation.                                   $0.00      Book                                        $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 9
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        Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                        Entered 02/18/21 11:54:10             Page 11 of 61

 Debtor         National Rifle Association of America                                          Case number (If known) 21-30085
                Name



 63.        Customer lists, mailing lists, or other compilations
            Trade Secrets/Customer Lists/Mailing Lists -
            NRA maintains list of members, donors,
            customers, prospects, trainers, competitors,
            volunteers, recruiters and others. THere are
            millions of names on these lists. NRA also
            has procedures and practices for processing
            this and other data in a productive manner.                                      $0.00      Book                                           $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $4,365.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Note Receivable from the Special                              5,043,931.24 -                                    0.00 =
            Contribution Fund - $5,043,931.24                         Total face amount      doubtful or uncollectible amount               $5,043,931.24



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            SEE ATTACHED                                                                                                                         Unknown
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 10
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        Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                    Entered 02/18/21 11:54:10           Page 12 of 61

 Debtor         National Rifle Association of America                                        Case number (If known) 21-30085
                Name

           every nature, including counterclaims of the debtor and rights to
           set off claims

           SEE ATTACHED                                                                                                               Unknown
           Nature of claim
           Amount requested                                              $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Metal Dies (used to produce NRA seals) - $11,955.34                                                                      $11,955.34



           457 Deferred Compensation Plan - $3,845,040.32                                                                       $3,845,040.32



           Heston Oil Painting - $15,000.00                                                                                         $15,000.00



           Mid-Range Deluxe Rifle - $22,000.00                                                                                      $22,000.00


           Winchester Model 1866 Engraved Rifle - Louis D.
           Nimschke - $45,000.00                                                                                                    $45,000.00



           Charlton Heston/Will Penny Monument - $80,000.00                                                                         $80,000.00




 78.       Total of Part 11.                                                                                                   $9,062,926.90
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 11
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         Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                                       Entered 02/18/21 11:54:10                      Page 13 of 61

 Debtor          National Rifle Association of America                                                               Case number (If known) 21-30085
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $36,570,365.06

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $4,774,150.22

 82. Accounts receivable. Copy line 12, Part 3.                                                               $56,060,804.09

 83. Investments. Copy line 17, Part 4.                                                                       $64,045,137.47

 84. Inventory. Copy line 23, Part 5.                                                                         $12,614,366.06

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $1,117,681.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $499,690.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $63,825,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $4,365.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $9,062,926.90

 91. Total. Add lines 80 through 90 for each column                                                     $184,749,485.80              + 91b.           $63,825,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $248,574,485.80




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                        page 12
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Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 14 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 15 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 16 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 17 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 18 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 19 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 20 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 21 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 22 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 23 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 24 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 25 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 26 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 27 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 28 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 29 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 30 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 31 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 32 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 33 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 34 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 35 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 36 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 37 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 38 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 39 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 40 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 41 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 42 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 43 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 44 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 45 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 46 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 47 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 48 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 49 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 50 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 51 of 61
   Case 21-30085-hdh11 Doc 175 Filed 02/18/21                                                       Entered 02/18/21 11:54:10                             Page 52 of 61




    National Rifle Association ofAmerica
    Historical Documents & Original Art
    Account# 1920
    December 31, 2020


       Added as                                                                                      Asset Location and
        Asset                       Description                                                 NRA Payment Source Documents                   Total         Total


    Pd 12, 1997      Heston oil painting by Michael J. Deas                          NRA Check 62231 issued I 0/9/97 to Mercury Group
                                                                                     for $55,000 ($ I 5K for oil painting at left; $ IOK
                                                                                     expensed for Heston Poster for Fall 1997 solicitation;
                                                                                     $ IOK expense for outside illustrator charge; $20K
                                                                                     expensed for copyright on oil painting).

                                                                                                                                              15,000.00     15,000.00
                     Sharps Model 1874 #1 Mid-Range Deluxe Rifle .44-77              Location: NRA Museum per Phil Schreier and Doug
    Pd 9, 2002      caliber, #156023, 28" part octagon barrel, casehardened          Wicklund on 2/10/04.
                    action, and checkered deluxe wood.                               American Express payment, per the March 22, 2002
                                                                                     Amex bill, paid to Monty Whitley, Inc. for $22,000.
                                                                                                                                              22,000.00     22,000.00
                     Winchester Model 1866 Engraved Rifle; Serial Number             Location: NRA Museum per Phil Schreier and Doug
     Pd 5, 2003      36352, manufactured in 1870. Engraved and signed by             Wicklund on 2/10/04.
                     Louis D. Nimschke on the lowertang behind the trigger.          NRA Check 210707 issued 4/18/03 to Monty Whitley,
                                                                                     Inc. for $45,000
                                                                                                                                              45,000.00     45,000.00
                    Heston Statlle
                    Larger than life Monument ofCharlton Heston/Will Penny           Location: NRA Museum lobby
     Pd 5, 2003     the Drifter                                                      NRA Check 208983 issued 3/27/03 to Blair Buswell
                                                                                     Studios for $40,000
                                                                                     Location: NRA Museum lobby                               40,000.00
     Pd 6, 2003      Monument of Charlton Heston/Will Penny the Drifter              NRA Check 216230 issued 7/31/03 to Blair Buswell
                                                                                     Studios for $41,950.70; $40K for statue and $1,950.70
                                                                                     expensed to shipping in CC72300
                                                                                                                                              40,000.00     80,000.00


    Balance Per General Ledger at 12/31/20                                                                                                                $ I 62,000.00



    This account balance represents the costs for historical items placed at 11250 Waples Mill Road building.




J:\SPECPROJ\Legal Queries\Bankruptcy\Capital Assets\Collectibles - Account 1920; Tab:List                                                                                 1/28/2021
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 53 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 54 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 55 of 61
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 56 of 61
                                             Part 11, Question 74: Causes of action against third parties (whether or not a lawsuit has been filed)
Page 57 of 61




                                             Causes of action against third parties (whether or not a lawsuit has been filed)            Nature of claim(s)                        Amount requested                                                 Current value of
                                                                                                                                                                                                                                                    debtor's interest
                                             Christopher W. Cox v. National Rifle Association of America , Arbitration before the        Counterclaims against Mr. Cox for      At least $6.7 million                                               Unknown
                                             International Institute for Conflict Prevention & Resolution, Case No. 1G-21-05-S           breaches of fiduciary, contractual,
                                             (2019)                                                                                      and statutory duties;
                                                                                                                                         conversion of NRA’s property;
                                                                                                                                         fraudulent inducement; and
                                                                                                                                         conspiracy to breach fiduciary duties.
Entered 02/18/21 11:54:10




                                             In re Lithium Ion Batteries Antitrust Litigation , MDL No. 2420 (N.D. Cal.)                 Class action antitrust claim.             Undetermined                                                     Unknown
                                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation , MDL No. 1720Class action antitrust claim.             Undetermined                                                     Unknown
                                             The National Rifle Association of America. v. Mark R. Dycio and Law Offices of Mark Breach of contract, breach of                     To be determined.                                                Unknown
                                             R. Dycio, P.C. (d/b/a Dycio & Biggs), Case No. 2019- 17571 (Va. Cir. Ct. 2019)              fiduciary duty, conversion, and fraud;
                                                                                                                                         seeks the return of fees
                                             National Rifle Association v. Ackerman McQueen, Inc., and Mercury Group, Inc., Case Various claims, including for                     $40 million                                                      Unknown
                                             Nos. CL19001757, CL19002067, 19002886 (Va. Cir. Ct. 2019)                                   breaches of fiduciary and contractual
                                                                                                                                         duties.
                                             National Rifle Association v. Ackerman McQueen, Inc., Mercury Group, Inc., Henry      Various claims, including for                   $100 million                                                     Unknown
                                             Martin, William Winkler, Melanie Montgomery and Jesse Greenberg, Case. No. 3:19-cv-breaches of fiduciary and contractual
                                             2074 (N.D. Tex. 2019)                                                                 duties.
                                             National Rifle Association v. Andrew Cuomo, both individually and in his official     Violations of the NRA's rights under            To be determined.                                                Unknown
                                             capacity; Maria T. Vullo, both individually and in her official capacity; and The New the Constitutions of the United States
                                             York State Department of Financial Services, Case No. 1:18-cv-566 (N.D.N.Y. 2018)     and New York.
                                             National Rifle Association v. Andrew Cuomo, both individually and in his official     Violations of the NRA's rights under            To be determined.                                                Unknown
                                             capacity; New York State Department of Economic Development d/b/a Empire State        the Constitutions of the United States
Case 21-30085-hdh11 Doc 175 Filed 02/18/21




                                             Development; Eric Gertler, both individually and in his official capacity; New York   and New York.
                                             State Department of Labor; and Roberta Reardon, both individually and in her official
                                             capacity, Case No. 1:20-cv-385 (N.D.N.Y. 2020)
                                             National Rifle Association v. JAMS, Inc. and Winston & Strawn LLP, Case No. 2020 CA The NRA's claims against JAMS are                 To be determined.                                                Unknown
                                             003346 B (D.C. Sup. Ct. 2020)                                                         breach of contract and
                                                                                                                                   for declaratory relief.
                                                                                                                                        The NRA's claims against Winston &
                                                                                                                                        Strawn are for unjust enrichment,
                                                                                                                                        negligent misrepresentation, and
                                                                                                                                        declaratory relief.
                                             National Rifle Association v. Letitia James, in her individual and official capacity, Case Violations of the NRA's rights under       To be determined.                                                Unknown
                                             No. 1:20-cv-889 (N.D.N.Y. 2020)                                                            the Constitutions of the United States
                                                                                                                                        and New York.
                                             National Rifle Association v. Oliver North , Case No. 903843‐20 (N.Y. Sup. Ct. 2019)       Claims for breaches of fiduciary and       To be determined.                                                Unknown
                                                                                                                                        statutory duties, conspiracy to violate
                                                                                                                                        fiduciary duties, and declaratory
                                                                                                                                        relief.
                                             TLR Systems                                                                                Contractual claims from inadequate         Undetermined                                                     Unknown
                                                                                                                                        performance of roof repair contract in
                                                                                                                                        2015.
                                             Under Wild Skies, Inc. v. National Rifle Association of America , Case No. 19-12530        Counterclaims for breaches of              Breach of advertising agreement ($11,225,000); breach of         Unknown
                                             (Va. Cir. Ct. 2019)                                                                        advertising and sponsorship                sponsorship agreement ($9,600,000); affirmative defense of
                                                                                                                                        agreements; affirmative defense of         fraudulent invoicing (at least $1,365,000)
                                                                                                                                        fraudulent invoicing
                                             Various Second Amendment and firearms litigation                                           Civil rights litigation on behalf of the   Undetermined (nominal damages and recovery of attorneys' fees)   Unknown
                                                                                                                                        NRA, or funded by the NRA on
                                                                                                                                        behalf of other plaintiffs.
Case 21-30085-hdh11 Doc 175 Filed 02/18/21   Entered 02/18/21 11:54:10   Page 58 of 61
                                                Part 11, Question 75: Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the
Page 59 of 61




                                             Other contingent and unliquidated claims or causes of action of every nature,   Nature of claim                         Amount requested    Current value of
                                             including counterclaims of the debtor and rights to set off claims                                                                          debtor's interest
                                             Ackerman McQueen                                                                UPMG and TuneSat /First Com allege Undetermined             Unknown
                                                                                                                             unauthorized uses of music in NRA
                                                                                                                             videos. It is possible that some of
                                                                                                                             these videos were produced by
                                                                                                                             Ackerman & McQueen. If so, an
Entered 02/18/21 11:54:10




                                                                                                                             indemnification claim could exist on
                                                                                                                             behalf of NRA.
                                             David Lehman                                                                    Various claims, including breaches Undetermined             Unknown
                                                                                                                             of fiduciary, contractual, and
                                                                                                                             statutory duties; conversion of
                                                                                                                             NRA’s property; and conspiracy to
                                                                                                                             breach fiduciary duties.
                                             Jack Steven Hart                                                                Allegations similar to certain of the   Undetermined        Unknown
Case 21-30085-hdh11 Doc 175 Filed 02/18/21




                                                                                                                             allegations asserted in the NRA’s
                                                                                                                             claims and counterclaims listed in
                                                                                                                             response to question 74.
                                             Kemble Trust (Texas)                                                            Estate dispute.                         $100,000            Unknown
                                             Anthony Makris                                                                  Allegations similar to certain of the At least $5,250,000   Unknown
                                                                                                                             allegations asserted in the NRA’s
                                                                                                                             claims and counterclaims listed in
                                                                                                                             response to question 74.
                                             Michel and Associates                                                           Attorney fee dispute - potential      Undetermined          Unknown
                                                                                                                             counterclaims or offsets.
                                             On Message, Inc.                                                                UPMG and TuneSat /First Com allege Undetermined             Unknown
                                                                                                                             unauthorized uses of music in NRA
                                                                                                                             videos. It is possible that some of
                                                                                                                             these videos were produced by On
                                                                                                                             Message, Inc. If so, an
                                                                                                                             indemnification claim could exist on
                                                                                                                             behalf of NRA.
                                             Co-defendants, litigation adversaries, and third parties in proceedings listed in                                             Undetermined   Unknown
Page 60 of 61




                                             response to Question 74                                                             Additional claims and counterclaims
                                                                                                                                 arising out of or relating to the facts
                                                                                                                                 underlying or related to certain of the
                                                                                                                                 NRA's claims and counterclaims
                                                                                                                                 listed in response to Question 74
                                                                                                                                 and/or allegations similar to such
                                                                                                                                 claims/counterclaims.
Entered 02/18/21 11:54:10
Case 21-30085-hdh11 Doc 175 Filed 02/18/21
          Case 21-30085-hdh11 Doc 175 Filed 02/18/21                             Entered 02/18/21 11:54:10                  Page 61 of 61

 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30085
                                                                                                                          X Check if this is an
                                                                                                                          
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Craig Spray                       11250 Waples Mill Road                           American Express                D
                                               Fairfax, VA 22030                                                                X E/F
                                                                                                                                
                                                                                                                                G



    2.2      Rick Tedrick                      11250 Waples Mill Road                           American Express                D
                                               Fairfax, VA 22030                                                                X E/F
                                                                                                                                
                                                                                                                                G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
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